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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                              :
 UNITED STATES OF AMERICA                     :      Case No: 21-cr-75 (RDM)
                                              :
                                              :
                                              :      18 U.S.C. §§ 111(a)(1); 1512(c)(2)
                                              :      Assaulting, Resisting, or Impeding Certain Officers;
           v.                                 :      Obstruction of an Official Proceeding
                                              :
 MATTHEW RYAN MILLER,                         :
                                              :
           Defendant.                         :
                                              :

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its

attorney, the United States Attorney for the District of Columbia, and the defendant, Matthew

Ryan Miller, with the concurrence of his attorney, agree and stipulate to the below factual basis

for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate

that the United States could prove the below facts beyond a reasonable doubt:

                           The Attack at the U.S. Capitol on January 6, 2021

          1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.       On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.




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        3.       On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.       At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.       At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows



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and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


             Matthew Ryan Miller’s Participation in the January 6, 2021, Capitol Riot

       8.       The defendant, Matthew Ryan Miller, lives in Cooksville, Maryland. On or before

January 5, 2021, defendant traveled from Maryland to Washington, D.C. The purpose of the

defendant’s trip to Washington, D.C., was to protest Congress’ certification of the Electoral

College.

       9.       On January 6, the defendant dressed in a black cowboy hat, a Washington

Capitals red, white and blue jersey, and a black backpack with blue trim on the shoulder straps,

attended the “Stop the Steal” rally and then went to the U.S. Capitol grounds. The defendant

posted a picture of himself at the rally on his Instagram account (profile name “mattrmillz”),


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with the caption “President’s Park (White House).”

       10.      As the mob gathered on the West side of the U.S. Capitol, while draped in a

confederate flag, the defendant threw an unidentifiable object towards the Capitol building.

       11.      The defendant used a section of the USCP temporary barriers as a ladder to scale

the walls of the west side of the Capitol plaza. The defendant also assisted other rioters with

scaling Capitol walls and other architectural obstacles on the U.S. Capitol grounds.

       12.      Once on the Lower West Terrance and close to the tunnel, the defendant waved

his hand, and said multiple times, “Come on” as the mob chanted “Heave! Ho!” and rocked

back and forth in a push towards the tunnel entrance, where law enforcement officers were

attempting to secure the U.S. Capitol. Multiple times, the defendant also put up his fingers and

yelled, “one, two, three, push!”

       13.      From this position, the defendant also threw a few unidentifiable objects towards

the Lower West Terrace tunnel where law enforcement officers were attempting to secure the

U.S. Capitol.

       14.      At approximately 4:55 PM, and at his closest position to the Lower West Terrace

tunnel, the defendant used a fire extinguisher to spray directly into the tunnel where the law

enforcement officers from the Metropolitan Police Department and United States Capitol Police

were stationed, defending this entrance to the U.S. Capitol building.

                                  Elements of the Offense
       15.      Matthew Ryan Miller knowingly and voluntarily admits to all the elements of 18

United States Code § 1512(c)(2) and 18 United States Code § 111(a). Specifically, defendant

admits that

   •   The defendant admits that he assaulted officers who were protecting the entrance to the

       U.S. Capitol at the Lower West Terrance tunnel in an attempt to gain entrance to the U.S.

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    Capitol building for himself and others. Defendant further admits he did so in an attempt

    to obstruct, influence, and impede an official proceeding, that is, a proceeding before

    Congress, specifically, Congress’s certification of the Electoral College vote as set out in

    the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

•   The defendant forcibly assaulted any person designated in 18 U.S.C. § 1114 while engaged

    in or on account of the performance of their official duties. Specifically, the defendant

    admits that from close range he deployed the contents of a fire extinguisher directly into

    the Lower West Terrance tunnel where members of the Metropolitan Police Department

    and the United States Capitol Police, were protecting the U.S. Capitol. The defendant

    further admits that he knew at that time that those officers were engaged in the performance

    of their official duties and that he assaulted the officers on account of their performance of

    their official duties.



                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   United States Attorney
                                                   D.C. Bar No. 481052


                                           By:     /s/ Jacqueline Schesnol
                                                   Jacqueline Schesnol
                                                   Assistant United States Attorney




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